Case: 4:10-cr-00510-HEA   Doc. #: 292 Filed: 09/12/11   Page: 1 of 5 PageID #:
                                     833
Case: 4:10-cr-00510-HEA   Doc. #: 292 Filed: 09/12/11   Page: 2 of 5 PageID #:
                                     834
Case: 4:10-cr-00510-HEA   Doc. #: 292 Filed: 09/12/11   Page: 3 of 5 PageID #:
                                     835
Case: 4:10-cr-00510-HEA   Doc. #: 292 Filed: 09/12/11   Page: 4 of 5 PageID #:
                                     836
Case: 4:10-cr-00510-HEA   Doc. #: 292 Filed: 09/12/11   Page: 5 of 5 PageID #:
                                     837
